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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA
                                    ALEXANDRIA DIVISION


UNITED STATES OF AMERICA
exrel. BRYAN QUESENBERRY,
                                                       CASE NO.: l:20-cv-1088(AJT/JFA)
               PlaintifC'Relator,                      FILED UNDER SEAL
                                                       PURSUANT TO 31 U.S.C. § 3730(b)(2)
                       V.

                                                       FILED EXPARTE
ACORN FINANCIAL ADVISORY
SERVICES,INC. etal.

               Defendants.                                   Under Seal


        THE GOVERNMENT'S NOTICE OF ELECTION TO INTERVENE IN PART
    FOR PURPOSES OF SETTLEMENT AND TO DECLINE TO INTERVENE IN PART
                                                AND
                                      MOTION TO UNSEAL


       Pursuant to the False Claims Act, 31 U.S.C. § 3730(b)(2) and (4), the United States

notifies the Court of its decision to intervene in part ofthis action and to decline to intervene in

part of this action. The United States intervenes in that part of the action which alleges that

defendant Zen Solutions, Inc.("Zen") violated the False Claims Act("FCA"), 31 U.S.C. § 3729

et seq., when it applied for and received two Paycheck Protection Program ("PPP")loans in

April 2020, as Zen certified it would only receive one PPP loan prior to December 31, 2020.

The United States reached a settlement with Zen, which it intends to execute contemporaneously

with this notice.


       The United States declines to intervene as to all other defendants, specifically: Acorn

Financial Advisory Services, Inc.; Association & Conference Group, LLC; ATCS,PLC;

Building Service Management,Inc.; Hemant Vekharia; Loudoun Innovation, LLC; Martin Lawn

& Landscape, Inc.; MSM Vantage Construction; and Plaza Azteca Broad, Inc.(collectively.
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